                    Case 11-12236                  Doc 1            Filed 03/24/11 Entered 03/24/11 13:47:25                               Desc Main
                                                                      Document     Page 1 of 26

                                                               FORM 1 VOLUNTARY PETITION

         United States Bankruptcy Court                                                                                  VOLUNTARY
                       District of                                                                                         PETITION
IN RE (Name of debtor - If individual, enter Last, First, Middle)                  NAME OF JOINT DEBTOR (Spouse) (Last, First, Middle)
Yanahan, Timothy J.
ALL OTHER NAMES used by debtor in the last 6 years                                 ALL OTHER NAMES used by debtor in the last 6 years
(include married, maiden and trade name)                                           (include married, maiden and trade name)


SOC. SEC./TAX I.D. NO. (If more than one, state all)                               SOC. SEC./TAX I.D. NO. (If more than one, state all)
xxx-xx-0808
STREET ADDRESS OF DEBTOR (No. and street, city, state, zip)                        STREET ADDRESS OF DEBTOR (No. and street, city, state, zip)

6204 S Keating
Chicago, IL 60629
                                              COUNTY OF RESIDENCE OR                                                                        COUNTY OF RESIDENCE OR
                                              PRINCIPAL PLACE OF BUSINESS                                                                   PRINCIPAL PLACE OF BUSINESS
                                                      Cook
MAILING ADDRESS OF DEBTOR (If different from street address)                       MAILING ADDRESS OF DEBTOR (If different from street address)




LOCATION OF PRINCIPAL ASSETS OF BUSINESS DEBTOR
(If different from addresses listed above)
                                 INFORMATION REGARDING DEBTOR (Check applicable)
TYPE OF DEBTOR                                                                       CHAPTER OR SECTION OF BANKRYUPTCY CODE UNDER WHICH THE
 _X_ Individual (See Exhibit D)                                                      PETITION IS FILED (check one)
___ Corporation (includes LLC and LLP)                                               _X_Chapter 7          __Chapter 11          __Chapter 13
 __ Partnership                                                                      __Chapter 9          __Chapter 12          __ Chapter 15 Petition
 __ Other                                                                                                                          Petition for Recognition
                                                                                     FILING FEE (check one)                        of a Foreign Main or Nonmain Proceeding
NATURE OF DEBT                                                                       _X_ Filing fee attached.
_X_ Non-Business Consumer __ Business - Complete A&B below                           __ Filing fee to be paid in installments. (Applicable to individuals only)
defined in 11 U.S.C. sec. 101(8) incurred by an individual                              must attach signed application for the court/s consideration certifying
A. TYPE OF BUSINESS (check one)                                                         that the debtor is unable to pay fee except in instalments. Rule 1006(b)
__ Farming               __ Transporation __ Commodity Broker                           see Official Form No. 3
__ Professional          __ Manufacturing/ __ Construction                           NAME and ADDRESS of LAW FIRM OR ATTORNEY
__ Retail/Wholesale          Mining           __ Real Estate                                       Staver & Gainsberg, P.C.
__ Railroad              __ Stockbroker       __ Other Business                                    120 W. Madison St., Ste. 520
                                                                                                   Chicago, IL 60602
B. BRIEFLY DESCRIBE NATURE OF BUSINESS                                               Telephone No.                                 312-422-1130
                                                                                     NAME(S) OF ATTORNEY(S) DESIGNATED TO REPRESENT THE DEBTOR
                                                                                    Neal S. Gainsberg
                                                                                     __ Debtor is not represented by an attorney
 STATISTICAL ADMINISTRATIVE INFORMATION (28 U.S.C. 604)                                                                            THIS SPACE FOR COURT USE ONLY
                (Estimates only) (Check applicable)
 __ Debtor estimates that funds will be available for distribution to unsecured creditors
 _X_ Debtor estimates that after any exempt property is excluded and administrative
    expenses paid, there will be no funds available for distribution to unsecured creditors.
 ESTIMATED NUMBER OF CREDITORS
 _X_ 1-49 __ 50-99 __ 100-199 __ 200-999 __ 1000-5000 __ 5000-over
 ESTIMATED ASSETS (in thousands of dollars)
_0 to 10,000 __ 10,000 to 100,000 _X_ 100,000 to 1 miliion __ 1 million to 100 million
 ESTIMATED LIABILITIES (in thousands of dollars)
 _0 to 10,000 __ 10,000 to 100,000 _X_ 100,000 to 1 miliion __ 1 million to 100 million
 ESTIMATED NUMBER OF EMPLOYEES - CH 11 & 12 ONLY
 __0 __1-19 __20-99 __100-999               __1000-over
 ESTIMATED NO. OF EQUITY SECURITY HOLDERS - CH 11 & 12 ONLY
 __0 __1-19 __20-99 __100-499               __500-over
                     Case 11-12236
In re: Yanahan, Timothy
                                                    Doc 1          Filed 03/24/11 Entered  03/24/11 13:47:25
                                                                                     Case No.
                                                                                                                                                     Desc Main
                                                                     Document     Page 2 of 26
                                                                                                                      (court use only)

                                                                                   FILING OF PLAN
For Chapter 9, 11, 12 and 13 cases only. Check appropriate.
__ A copy of debtor's proposed plan dated                                                              __ Debtor intends to file a plan within the time allowed by statute,
  is attached.                                                                                            rule or order of the court.
                               PRIOR BANKRUPTCY CASE FILED WITHIN LAST 8 YEARS (if more than one, attach additional sheet)
Location Where Filed                                 Case Number                               Date Filed



PENDING BANKRUPTCY CASE FILED BY ANY SPOUSE, PARTNER OR AFFILIATE OF THIS DEBTOR (if more than one, attach additional sheet.)
Name of Debtor                                                   Case Number                                          Date



Relationship                                                     District                                             Judge


                               Exhibit A                                                                                                 Exhibit B
(To be completed if the debtor is requirede to file periodic reports (e.g.,                         I, the attorney for the petitioner named in the foregoing petition,
forms 10K and 10Q) with the Securities and Exchange Commission                                      declare that I have informed the petitioner that he or she may
pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                              proceed under Chapter 7,11,12 or 13 of title 11, United States
and is requesting relief under Chapter 11).                                                         Code, and have explained the relief available under each such
                                                                                                    chapter. I further certify that I delivered to the debtor the
 _____           Exhibit A is attached and made a part of this petition.                            notice required by §342(b) of the Bankruptcy Code.
                                                                                                        X _________/s/       Neal Gainsberg                Date:____________


                               Exhibit C                                                                 Certification Concerning Debt Counseling
Does the debtor own or have possession of any proprty that poses                                                 See Exhibit D, attached hereto
or is alleged to pose a threat of immenint and identifiable harm to                                    __X___ I/we have received approved budget and credit
public health or safety?                                                                                              counseling during the 180-day period preceding
                                                                                                                      the filing of this petition.
_____ Yes, and Exhibit C is attached and made a part of this petition.                                  _____         I/we request a waiver of the requirement to obtain
__X__      No.                                                                                                        budget and credit counseling prior to filing based
                                                                                                                      on exigent circumstances.
                                                Information Regarding the Debtor (Check the Applicable Boxes)
                                                               Venue (Check any applicable box)
                 __X___        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District
                               for 180 days immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                               District.
                 _____         There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                 _____         Debtor is a debtor in a foreign proceeding and has its principal place of busines or principal assets in the United
                               States in this District, or has no principal place of business or assets in the United States but is a defendant in an
                               action or proceeding (in a federal or state court) in this District, or the interest of the parties will be served in regard
                               to the relief sought in this District.
                                                Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                          Check all applicable boxes
                 _____         Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the
                               following:)
                                                                                                    ______________________________
                                                                                                    (Name of landlord that obtained judgment)


                                                                                                    _____________________________
                                                                                                    (Address of landlord)
                 _____         Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                               permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                               possession was entered, and
                 _____         Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                               period after the filing of the petition.
                                                                          REQUEST FOR RELIEF
                      Case 11-12236                  Doc 1          Filed 03/24/11 Entered 03/24/11 13:47:25                                            Desc Main
                                                                      Document     Page 3 of 26




Debtor requests relief in accordance with the chapter ___7__of title II, United States Code, specified in this petition.
                                                                               SIGNATURES
                                                                                 ATTORNEY

X /s/ Neal Gainsberg                                                                                    Date
Signature
                 INDIVIDUAL/JOINT DEBTOR(S)                                                                                CORPORATE OR PARTNERSHIP DEBTOR
 I declare under penalty of perjury that the information provided in this                                   I declare under penalty of perjury that the information provided
petition is true and correct                                                                            in this petition is true and correct, and that the filing of this
                                                                                                        petition on behalf of the debtor has been authorized


X /s/ Yanahan, Timothy                                                                                  X
Signature of Debtor                                                                                     Signature of Authorized Individual
Date
                                                                                                        Print of Type Name of Authorized Individual


X
Signature of Joint Debtor                                                                               Title of Individual Authorized by Debtor to File this Petition
Date                                                                                                    Date
                                Exhibit "A" (To be completed if debtor is a corporation requesting relief under chapter 11.)
__ Exhibit "A" is attached and made part of this petition.
                 TO BE COMPLETED BY INDIVIDUAL CHAPTER 7 DEBTOR WITH PRIMARILY CONSUMER DEBTS (SEE p.l. 98-353 & 322)
I am aware that I may proceed under chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7 of such title

 If I am represented by an attorney, exhibit "B" has been completed.


X /s/ Yanahan, Timothy                                                                                  Date
Signature of Debtor


X /s/                                                                                                   Date
Signature of Joint Debtor

                 EXHIBIT "B" (To be completed by attorney for individual chapter 7 debtor(s) with primarily consumer debts.)
 I, the attorney for the debtor(s) named in the foregoing petition, declare that I have informed the debtor(s) that (he, she, or they) may proceed
chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each such chapter


X /s/ Neal S. Gainsberg                                                                                 Date
Signature of Attorney
                     Case 11-12236               Doc 1         Filed 03/24/11 Entered 03/24/11 13:47:25                                   Desc Main
                                                                 Document     Page 4 of 26


UNITED STATES BANKRUPTCY COURT                                                                            DISTRICT OF

In re: Yanahan, Timothy                                                Debtor(s)                      Case No.                            (If Known)

                                                                                                          Chapter_____7______
      See summary below for the lists of schedules. Include Unsworn Declaration under Penalty of Perjury at the end

      GENERAL INSTRUCTIONS: Schedule D, E and F have been designed for the listing of each claim only once. Even when a claim is secured only
in part or entitled to priority only in part, it still should be listed only once. A claim which is secured in whole or in part should be listed on Schedule D
only, and a claim which is entitled to priority in whole or in part should be listed in Schedule E only. Do not list the same claim twice. If a creditor has
more than one claim, such as claims arising from separate transactions, each claim should be scheduled separately

      Review the specific instructions for each schedule before completing the schedule.

                                                               SUMMARY OF SCHEDULES

    Indicate as to each schedule whether that schedule is attached and state the number of pages in each, Report the totals from Schedules A, B, D,
E, F, I and J in the boxes provided, Add the amounts of Scheduels A and B to determine the total amount of the debtor's assets. Add the amounts
from Schedules D, E, and F to determine the total amount of the debtor's liabilities.

                        Attached (Yes No)                    Number of Sheets                             Amounts Scheduled
                Name of Schedule                                                   Assets                        Liabilites                          Other
A - Real Property                                       Y          1                 137,500.00

B - Personal Property                                   Y          2                      6,635.00

C - Property Claimed as Exempt                          Y          1

D - Creditors Holding Secured Claims                    Y          1                                                      173,179.00

E - Creditors Holding Unsecured                                                                                                    0.00
   Priority Claims                                      Y          1

F - Creditors Holding Unsecured                                                                                             25,964.00
   Nonpriority Claims                                   Y          2

G - Executory Contracts and
   Unexpired Leases                                     Y          1

H - Codebtors                                           Y          1

I - Current Income of
  Individual Debtor(s)                                  Y          1                                                                                       1,700.00

J - Current Expenditures of
   Individual Debtor(s)                                 Y          1                                                                                       2,822.00

    Total Number of Sheets of All Schedules

                                                     Total Assets                     144,135.00

                                                                             Total Liabilities                            199,143.00
         Case 11-12236                    Doc 1        Filed 03/24/11 Entered 03/24/11 13:47:25                 Desc Main
                                                         Document     Page 5 of 26



                                          UNITED STATES BANKRUPTCY COURT
                                              Northern District of Illinois

In re: ____Yanahan, Timothy______________________Case No._____________________
                                                 Chapter _____       7

                      STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 u.s.c. § 159)
                                      [Individual Debtors Only]

Summarize the following types of liabililites, as reported in the Schedules, and total them.
The foregoing information is for statistical purposes only under 28 U.S.C. § 159.


Types of Liabilities                                                                                  Amount
Domestic Support Obligations (from Schedule E)                                                             $0
Taxes and Certain Other Debts Owed to Government Units (from Schedule E)                                   $0
Claims for Death or Personal Injury While Debtor was Intoxicated (from Schedule E)                         $0
Student Loan Obligations (from Schedule F)                                                                 $0
Domestic Support, separation Agreement, and Divorce Decree Obligations Not Reported                        $0
on Schedule E
Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                  $0
                                                                                  Total                    $0
State the Following
Average Income (from Schedule I, Line 16)                                                    $1,700
Average Expenses (from Schedule J, Line 18)                                                  $2,822
Current Monthly Income (form 22A line 12 or 22C line 20)                                     $2,449
State the Following
1. Total from Schedule D, Unbsecured Portion, if any column                          $35,679.00
2. Total from Schedule E, Amount Entitled to
Prioritym if any column
3. Total from Schedule E, Amount Not Entitled to Priority, if any Column
4. Total from Schedule F                                                                    $25,964
5. Total of non-priority unsecured debt                                                     $61,643
                       Case 11-12236               Doc 1         Filed 03/24/11 Entered 03/24/11 13:47:25                             Desc Main
                                                                   Document     Page 6 of 26


In re: Yanahan, Timothy, J.                                  Debtor(s)          Case No.                            (if known)

   SCHEDULE A - REAL PROPERTY
                                                                                 H    CURRENT REPLACEMENT VALUE
                                                         NATURE OF DEBTORS       W     OF DEBTORS INTEREST IN                    AMOUNT OF
DESCRIPTION AND LOCATION OF PROPERTY                     INTEREST IN PROPERTY     J      PROPERTY WITHOUT                           SECURED
                                                                                 C     DEDUCTING ANY SECURED                         CLAIM
                                                                                        CLAIM OR EXEMPTION



           Residence at:
                                                                                                  137,500.00                                 173,719.00
           6204 S Keating Ave                          fee simple
           Chicago, IL 60628




                                                                    TOTAL ->                      137,500.00        (Report also on Summary
                                                                                                                    of Schedules)
     SCHEDULE B - PERSONAL PROPERTY
                                                   N                                                            H     CURRENT REPLACEMENT VALUE
                                                   O                                                            W        OF DEBTORS INTEREST IN
               TYPE OF PROPERTY                    N              DESCRIPTION AND LOCATION OF PROPERTY          J           PROPERTY WITHOUT
                                                   E                                                            C        DEDUCTING ANY SECURED
                                                                                                                           CLAIM OR EXEMPTION
1. Cash on Hand                                    N
2. Checking/savings or other financial accounts        Charter One-Checking                                                                    1,200.00
certificates of deposit, or shares in banks,           Charter One Money Market                                                                  500.00
savings and loan, thrift, building and loan, and       Fifth Third Bank                                                                           35.00
homestead associations,or credit unions,
brokerage houses, or cooperatives.
3. Security deposits with public utilities,        N
telephone companies, landlords, and others.
4. Household goods and furnishings, including          Household Goods                                                                          600.00
audio, video and computer equipment
5. Books, pictures and other art objects,          N
antiques, stamp, coin, record, tape, compact
disc, and other collections or collectibles.
6. Wearing apparel.                                    Clothes                                                                                  300.00
7. Furs and jewelry.
8. Firearms and sports, photograpic, and other     N
hobby equipment.
9. Interests in insurance policies, Name               Term-Life                                                                                   0.00
insurance company of each policy and itemize
surrender or refund value of each.
                     Case 11-12236                   Doc 1          Filed 03/24/11SCHEDULE
                                                                                    EnteredB -03/24/11
                                                                                              PERSONAL 13:47:25
                                                                                                       PROPERTY                          Desc Main
In re: Yanahan, Timothy, J.
                                                                      Document Debtor(s)
                                                                                   Page 7 of 26      No.                                           (if known)

                                                      N                                                         H   CURRENT REPLACEMENT VALUE OF

                TYPE OF PROPERTY                      O     DESCRIPTION AND LOCATION OF PROPERTY                W   DEBTORS INTEREST IN PROPERTY

                                                      N                                                         J   WITHOUT DEDUCTING ANY

                                                      E                                                         C   SECURED CLAIM OR EXEMPTION

10. Annuities. itemize and name each issuer.          N
11. Interests in IRA, ERISA, Keogh,                   N
education IRA, or other pension or profit
sharing plans. Itemize
12. Stock and interests in incorporated               N
and unicorporated businesses. Itemize.
13. Interest in partnerships or joint                 N
ventures. itemize.
14. Government and corporate bonds                    N
and other negotiable and nonegotiable
instruments.
15. Accounts receivable.                              N
16. Alimony, maintenance, support, and                N
property settlements to which the debtor
is or may be entitled. Give particulars.
17. Other liquidated debts owing debtor               N
including tax refunds. Give particulars.
18. Equitable or future interests, life               N
estates, and rights to powers exercisable
for the benefit of the debtor other than
those listed on Schedule of Real Property
19. Contingent and noncontingent interests            N
in estate of a decedent, death benefit plan,
life insurance policy, or trust
20. Other contingent and unliquidated                 N
claims of every nature, includeing tax
refunds, counterclaims of the debtor, and
rights to setoff claims. Give estimated
value of each.
21. Patents, copyrights, and other                    N
intellectual property. Give perticulars.
22. Licenses, franchises, and other                   N
general intangibles. Give particulars.
23. Automobiles, trucks, trailers, and other              2001 Lexus G-6                                                                           4,000.00
vehicles and accessories.
24. Boats, motors, and accessories.                   N
25. Aircraft and accessories.                         N
26. Office equipment, furnishings, and supplies       N
27. Machinery, fixtures, equipment and supplies       N
used in business
28. Inventory.                                        N
29. Animals                                           N
30. Crops - growing or harvested. Give                N
particulars.
31. Farming equipment and implements                  N
32. Farm supplies, chemicals, and feed.               N
33. Customer lists or other compilations              N
containing personally identifiable information
(as defined in 11 U.S.C. §101(41A) provided
to the debtor by individuals in connection
with obtaining a product or service from the
debtor primarily for personal, family, or
household purposes.
34. Other personal property of any kind not           N
already listed. Itemize.
(included amounts from any continuation sheets attached. Report total also on Summary of Schedules)   Total->                                      6,635.00
                     Case 11-12236                 Doc 1          Filed 03/24/11 Entered 03/24/11 13:47:25                    Desc Main
In re: Yanahan, Timothy                                             Document Debtor(s)
                                                                                 Page 8 of 26Case No.                                      (if known)

                                SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under (Check one)

__ 11 U.S.C & 522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law.
 DESCRIPTION OF PROPERTY                                             SPECIFY LAW                                  VALUE OF      CURRENT REPLACEMENT
                                                                   PROVIDING EACH                                  CLAIMED       VALUE OF PROPERTY
                                                                     EXEMPTION                                   EXEMPTION       WITHOUT DEDUCTING
                                                                                                                                      EXEMPTION




Charter One-Checking                                             735 ILCS 5/12-1001(b)                             1,200.00                   500.00
Charter One -Money Market                                        735 ILCS 5/12-1001(b)                                  500                      500
Fifth Third Bank-Savings                                         735 ILCS 5/12-1001(b)                                35.00                    35.00
Wearing Apparel                                                  735 ILCS 5/12-1001(a)                               300.00                   300.00


Household Goods                                                  735 ILCS 5/12-1001(b)                                  600                       600

2001 Lexus G-6                                                   735 ILCS 5/12-1001©                               2,400.00                  4,000.00
                                                                 735 ILCS 5/12-1001(b)                                 1600

Residence                                                        735 ILCS 5/12-901                                15,000.00                137,500.00
6204 S Keating Ave
Chicago, IL 60629
             Case
In re: Yanahan,     11-12236
                Timothy, J.             Doc 1    Filed 03/24/11 Entered
                                                                 Debtor(s) 03/24/11
                                                                               Case 13:47:25
                                                                                    No.                    Desc Main    (if known)
                                                   Document     Page 9 of 26
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
   CREDITOR'S NAME AND             CO    H        DATE CLAIM WAS INCURRED,              C
     MAILING ADDRESS               D     W           NATURE OF LEIN AND                 U     AMOUNT OF CLAIM       UNSECURED
    INCLUDING ZIP CODE             E     J      DESCRIPTION AND REPLACEMENT             D    WITHOUT DEDUCTING       PORTION
                                   B     C          VALUE OF PROPERTY                       VALUE OF COLLATERAL       IF ANY
                                   T                   SUBJECT TO LEIN
ACCOUNT NO. 3572
Wells Fargo Home Mortgage                    Mortgage                                                  173,179.00      35,679.00
PO Box 10335                                                                 2004
Des Moines, IA 50306                         6204 S Keating
                                             Chicago, IL
                                             VALUE, $ 137,500
ACCOUNT NO.




ACCOUNT NO.




                                             VALUE, $
ACCOUNT NO.




ACCOUNT NO.




                                             VALUE, $
ACOUNT No.




                                             Value, $




                                                                    SUBTOTAL ->                        173,179.00
___ continuation sheets attached                                 (Total of this page)

                                                                         TOTAL ->                      173,179.00
                 Case 11-12236            Doc 1       Filed 03/24/11 Entered 03/24/11 13:47:25                        Desc Main
                                                       Document     Page 10 of 26
In re: Yanahan,Timothy                                                     Debtor(s)     Case No.                                  (if known)

                                   SCHEDULE E - CREDITORS HOLDINGS UNSECURED PRIORITY CLAIMS

_X__ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPE OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets).
___ Extensions of credit in an involuntary case
   Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of
   the case but before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C 507(a)(2).

___ Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees,
    up to a maximum of $2000 per employee, earned within 90 days immediately preceding the filing of the
    original petition or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C.
    507(a)(3)
___ Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the
    original petition, or the cessation of business, whichever occurred first, to the extend provided in 11 U.S.C. 570(a)(4).
___ Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to a maximum of $2000 per farmer or fisherman, against the debtor, as
    provided in 11 U.S.C. 507(a)(5).
___ Deposits by individuals
    Claims of individuals up to a maximum of $900 for deposits for the purchase, lease, or rental of property or services
    for personal, family, or household use, that were not delivered or provided. 11 U.S.C. 507(a)(6).
___ Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs, duties, and penalties owing to federal, state, and local governmental units as set forth in
    11 U.S.C. 507(a)(7).
___ Domestic Support Obligations

                                                   CO
              CREDITORS NAME AND                   D    H              DATE CLAIM WAS                  C          TOTAL             AMOUNT
                MAILING ADDRESS                    E    W        INCURRED AND CONSIDERATION            U         AMOUNT             ENTITLED
               INCLUDING ZIP CODE                  B    J                FOR CLAIM                     D         OF CLAIM          TO PRIORITY
                                                   T    C
Account No.




Account No.




Account No.




Account No.




___ Continuation sheets attached                                                       Subtotal --->                        0.00

                                                                                         Total --->                         0.00
In re: Yanahan, Case  11-12236
                Timothy                      Doc 1       Filed 03/24/11 Debtor(s)
                                                                           EnteredCase
                                                                                   03/24/11
                                                                                       No.  13:47:25                            Desc Main
                                                                                                                                     (if known)
                                                          Document       Page 11 of 26
                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
__ Check here if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F
                                                           CO H                                                  C
            CREDITOR'S NAME AND                             D     W                      DATE CLAIM WAS INCURRED U              AMOUNT
                MAILING ADDRESS                             E      J               AND CONSIDERATION FOR CLAIM.  D              OF CLAIM
             INCLUDING ZIP CODE                             B     C                      IF CLAIM IS SUBJECT TO
                                                            T                                SETOFF, SO STATE.
ACCOUNT NO. 1448
Bank of America                                                                                Rev. Charge                                 6,399.00
PO Box 17054                                             2005-09
Wilmington, DE 19850-7054



ACCOUNT NO. 7606
Equable Ascent Financial, LLC                                                                  Rev.Charge                                  1,857.00
1120 W. Lake Cook Rd.                                    purchased debt- Chase
Suite B                                                  2008-09
Buffalo Grove, IL 6008

ACCOUNT NO. 10 M1
Weltman Weinberg & Reis Co. L.P.A.                                                                                     Notice
180 N. LaSalle Street, Suite 2400                        attys for Equable Ascent Financial
Chicago, IL 60601


ACCOUNT NO. 8219
Pulmonary Consultants, SC c/o                                                                       Medical                                 569.00
Illinois Collection Service                                                                           2009
PO Box 1010
Tinley Park, IL 60477

ACCOUNT NO. 8240
Midwest Physician Group, LTD c/o                                                                    Medical                                  80.00
Illinois Collection Service                                                                           2008
PO Box 1010
Tinley Park, IL 60477

ACCOUNT NO. 335789
Portfolio Recovery Associates                                                                  Rev. Charge                             15,085.00
120 Corporate BLVD Ste 100                               formely Wells Fargo
Norfolk, VA 23502                                        2002-09


ACCOUNT NO. 0992
Barclay's Bank Delaware/Juniper                                                                Rev. Charge                                  584.00
PO Box 8803                                              2008-2011
Wilmington, DE 19899


ACCOUNT NO. 3532
Capital One                                                                                    Rev. Charge                                  823.00
PO Box 30281                                             2008-2011
Salt Lake City, UT 84130


ACCOUNT NO. 3201
HSBC Bank/Fifth Third Bank                                                                     Rev. Charge                                  401.00
PO Box 5253                                              2008-11
Carol Stream, IL 60197



                                                                                                         Subtotal ->                   25,798.00
____ Continuation Sheets Attached                                                                           Total ->
In re: Yanahan, Case  11-12236
                Timothy                      Doc 1       Filed 03/24/11 Debtor(s)
                                                                           EnteredCase
                                                                                   03/24/11
                                                                                       No.  13:47:25                            Desc Main
                                                                                                                                     (if known)
                                                          Document       Page 12 of 26
                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
__ Check here if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F
                                                           CO H                                                  C
            CREDITOR'S NAME AND                             D     W                      DATE CLAIM WAS INCURRED U              AMOUNT
                MAILING ADDRESS                             E      J               AND CONSIDERATION FOR CLAIM.  D              OF CLAIM
             INCLUDING ZIP CODE                             B     C                      IF CLAIM IS SUBJECT TO
                                                            T                                SETOFF, SO STATE.
ACCOUNT NO. 1448
Northstar Location Services, LLC                                                                  collection           Notice
Attn: Financial Services Dept.                           Bank of America
4285 Genesee St
Cheektowaga, NY 14225-1943


ACCOUNT NO. 078559267900001
Verizon c/o                                                                                      cell phone                                136.00
North Shore Agency                                       2009-10
4000 East Fifth Avenue
Columbus, OH 43219

ACCOUNT NO. 55
Illinois Heart and Vascular c/o                                                                                                             30.00
ATG Credit LLC                                           medical
PO Box 14895                                                                                            2008
Chicago, IL 60614

ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




                                                                                                         Subtotal ->                      166.00
____ Continuation Sheets Attached                                                                           Total ->                   25,964.00
                  Case 11-12236              Doc 1        Filed 03/24/11 Entered 03/24/11 13:47:25                Desc Main
                                                           Document     Page 13 of 26
In re: Yanahan, Timothy                                                    Debtor(s)          Case No.                  (if known)


                   SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
_X_ Check here if debtor has no executory contracts or unexpired leases.

           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                           DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
             OF OTHER PARTIES TO LEASE OR CONTRACT                                  DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                       NUMBER OF ANY GOVERNMENT CONTRACT.
                 Case 11-12236                Doc 1   Filed 03/24/11 Entered 03/24/11 13:47:25      Desc Main
                                                       Document     Page 14 of 26
In re: Yanahan,Timothy                                               Debtor(s)         Case No.                 (if known)

                                                              SCHEDULE H - CODEBTORS

__X_ Check here if debtor has no codebtors.

                   NAME AND ADDRESS OF CODEBTOR                                  NAME AND ADDRESS OF CREDITOR
              Case 11-12236                 Doc 1         Filed 03/24/11 Entered 03/24/11 13:47:25                              Desc Main
                                                           Document     Page 15 of 26
In re: Yanahan, Timothy                                                                     Debtors         Case No.                          (if known)


                                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter
 12 or 13 case whether of not a joint petition if filed, unless the spouses are separated and a joint petition is not filed.

    Debtor's Marital                                       DEPENDENTS OF DEBTOR AND SPOUSE
         Status:             NAMES                                                                          AGE                RELATIONSHIP
Single                     Daughter                                                                         18




Employment:                             DEBTOR                                                 SPOUSE
Occupation                              Loan Officer
Name of Employer                        PNC Bank

How Long Employed                       One Month
Address of Employer




Income: (Estimate of average monthly income)
                                                                                                       DEBTOR                     SPOUSE
1. Current monthly gross wages, salary and commissions.......................                                    2,000.00
   (pro rate if not paid monthly)
2. Estimate monthly overtime
3. SUBTOTAL                                                                                                      2,000.00
4. LESS PAYROLL DEDUCTIONS
       a. Payroll taxes and social security                                                                        300.00
       b. Insurance
       c. Union dues
       d. Other



5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                  300.00
6. TOTAL NET MONTHLY TAKE HOME PAY                                                                               1,700.00

7. Regular income from operation of business or profession or farm
   (attach detailed statement)
8. Income from real property
9. Interest and dividends
10. Alimony, maintenance or support payments payable to the debtor for
  the debtor's use or that of dependents listed above
11. Social security or other government assistance (Specify)

12. Pension or retirement income net
13. Other monthly income (Specify):
14. SUBTOTAL OF LINES 7 THROUGH 13

15. TOTAL MONTHLY INCOME                                                                                         1,700.00

16. TOTAL COMBINED MONTHLY INCOME                                               1,700.00       (Report also on Summary of Schedules)


Describe any increase or decrease in any of the above categories anticipated to
occur within the year following the filing of this document:
In re: Yanahan, Timothy                                                        Debtor(s)    Case No.                              (if known)
                  Case 11-12236              Doc 1 Filed 03/24/11 Entered 03/24/11 13:47:25                                  Desc Main
                                                    Document
                                     SCHEDULE J - CURRENT         Page OF
                                                          EXPENDITURES 16INDIVIDUAL
                                                                          of 26     DEBTOR(S)
Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any
payments made bi-weekly, quarterly, semi-annually or annually to show monthly rate.

____ Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate
schedule of expenditures labeled "Spouse".

1. Rent or home mortgage payment (include lot rented for mobile home)                                                                      1,388.00
     a. Are real estate taxes included? _X_Yes ___No
     b. Is property insurance included? _X_Yes ___No
2. Utilities: a. Electricity and heating fuel                                                                                                  175.00
              b. Water and sewer
              c. Telephone                                                                                                                     125.00
              d. Other__Cable/Internet______________________                                                                                   111.00
 3. Home maintenance (repairs and upkeep)                                                                                                       50.00
4. Food                                                                                                                                        350.00
5. Clothing                                                                                                                                     40.00
6. Laundry and dry cleaning                                                                                                                     40.00
7. Medical and dental expenses                                                                                                                  50.00
8. Transportation (not including car payments)                                                                                                 300.00
 9. Recreation, clubs and entertainment, newspapers, magazine, etc                     -
10. Charitable contributions
11. Insurance (not deducted from wages or included in home mortgage payments)
                a. Homeowner's or renter's
                b. Life                                                                                                                         43.00
                c. Health
                d. Auto                                                                                                                        150.00
                e. Other______________________________
12. Taxes (not deducted from wages or included in home mortgage payments)
    (Specify)
13. Installment payments:(In chapter 12 & 13 cases, do not list payments to be included in the plan)




14. Alimony, maintenance, and support paid to others
15. Payments for support of additional dependents not living at your home
16. Regular expenses from operation of business, profession, or farm
    (attach detailed statement)
17. Other__________________________________________________________

18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                           2,822.00
19. Describe any increase or decrease in expenditures reasonably antici[ated to occur within the year following the filing
    of this document:
    __________________________________________________________________________________________________________

20. STATEMENT OF MONTHLY NET INCOME
    A. Total projected monthly income                                                                                                      1,700.00
    B. Total projected monthly expenses                                                                                                    2,822.00
    C. Excess income (A minus B)                                                                                                               0.00
                  Case 11-12236              Doc 1        Filed 03/24/11 Entered 03/24/11 13:47:25                              Desc Main
                                                           Document     Page 17 of 26
In re: Yanahan, Timothy                                                            Debtor(s)      Case No.                            (if known)



                                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

  I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of___________________sheets,
                                                                                        (Total shown on summary page plus 1.)
and that they are true and correct to the best of my knowledge, information and belief.

    Date                                                             Signature: /s/ Timothy Yanahan
                                                                                               debtor


    Date                                                             Signature: /s/
                                                                                                  joint debtor




                              DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

  I, the __________________ (the president or other officer or an authorized agent of the corporation or a member or an
authorized agent of the partnership) of the__________________________________(corporation or partnership named as debtor in this
case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of______sheets,
                                                                                        (Total shown on summary page plus 1)
and that they are true and correct to the best of my knowledge, information and belief.


    Date                                                             Signature:

                                                                                   (Print or type name of individual signing on behalf of debtor.)



              (An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.)




 Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. 152 and 3571.
                     Case 11-12236                   Doc 1         Filed 03/24/11 Entered 03/24/11 13:47:25                        Desc Main
                                                                    Document     Page 18 of 26
UNITED STATES BANKRUPTCY COURT                                                              DISTRICT OF

 In re: Yanahan, Timothy                                                     Debtor(s) Case No.

                                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

1. I, the debtor, have filed a schedule of assets and liabilities which includes consumer debts secured by
       property of the estate.
2. I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
3. I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:

Description of Secured         Creditor's                Property will be   Property is claimed   Propery will be redeemed    Debt will be reaffirmed
Property                       Name                      surrendered        as exempt             purusant to 11 USC §722     pursuant to 11 USC §722
6204 S Keating Ave
Chicago, IL 60629 Wells Fargo                            X




Description of Leased          Lessor's                  Lease will be assumed
Property                       Name                      pursuant to 11 USC §362(h)(1)(a)



None




Date:_____________________                                                                        __/s/ __Timothy Yanahan__________________
                                                                                                  Signature of Debtor


                                                                                                  _____/s/__________________
                                                                                                  Signature of Joint Debtor




3. I understand that 521(2)(B) of the Bankruptcy Code requires that I perform the above stated intention within 45 days of the filing
  of this statement with the court, or within such additional time as the court, for cause, within such 45-day period fixes.

Date:                                                                  /s/ Timothy Yanahan
                                                                                   Signature of Debtor

* Reaff'd - Debt will be reaffirmed pursuant to 524(c)
 Red'd - Property is claimed as exempt and will be                          /s/
           redeemed pursuant to 722                                                 Signature of Debtor
 Exempt-Lien will be avoided pursuant to 522(f) and property
         will be claimed as exempt
                 Case 11-12236                Doc 1         Filed 03/24/11 Entered 03/24/11 13:47:25                                   Desc Main
UNITED STATE BANKRUPTCY COURT                                Document       DISTRICT
                                                                          Page 19 ofOF
                                                                                     26
In re: Yanahan, Timothy                                                                            Debtor(s)       Case No.
                                                                                               STATEMENT OF FINANCIAL AFFAIRS
    This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spounses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs.
    Questions 1-15 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
16-21. Each question must be answered. If the answer to any question is "None", or the question is not applicable, mark the box labeled "None".
If additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
if known, and the number of the question.
DEFINITIONS
    "In business" A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
in business" for the purpose of this form if the debtor is or has been, within the two years immediately preceding the filing of this bankrupcty case,
any of the following: an officer, director, managing executive, or person in control of a corporation; a partner, other than a limited partnership
a sole proprietor or self-employed.
    "Insider" The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporation
of which the debtor is an officer, director, or person in control; officers, directors, and any person in control of a corporate debtor and their
relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. 101(30).
____ None. 1. Income from Employment or Operation of Business
State the gross amount of income the debtor has received from employ-
ment, trade,or profession, or from operation of the debtor's business,
including part-time activities either as an employee or in independent           2011, YTD, $5515
trade or business, from the beginning                                            2010, $40,382
of this calendar year to the date this case was com-                             2009, $ 60,340
menced. State also the gross amounts received during the two years im-
mediately preceding this calendar year. (A debtor that maintains, or has
maintained, financial records on the basis of a fiscal rather than a calen-
dare year may report fiscal year income. Identify the beginning and end-
ing dates of the debtor's fiscal year) If a joint petition is filed, state in-
come for each spouse separately. (Married debtors filing under chapter
12 or chapter 13 must state income of both spouses whether or not a
joint petition is filed, Unless the spouses are separated and a joint peti-
tion is not filed) Give AMOUNT and SOURCE (if more than one).
____ None. 2. Income Other Than From Employment or Operation of
Business.
State the amount of income received by the debtor other than from em-            Interest,
ployment, trade, profession, or operation of the debtor's business during        2010, $23
the two years immediately preceding the commencement of this case.               2009, $151
Give particulars. If a joint petition is filed, state income for each spouse
separately. (Married debtors filing under chapter 12 or chapter 13 must
state income for each spouse whether or not a joint petition is filed, un-
less the spouses are separated and a joint petition is not filed.) Give
AMOUNT and SOURCE.
3. Payments to Creditors
_X__ None a. List all payments on loans, installment purchases of goods
or services, and other debts, aggregating more than $600 to any creditor,
made within 90 days immediately preceding the commencement of this case.
Indicate with an asterisk any payments that were made to a creditor on account
of a domestic support obligation or as part of an alternative repayment
schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
(Married debtors filing under chapter 12 or chapter 13 must include
payments by either or both spouses whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed.)
Give NAME and ADDRESS of CREDITOR, DATES OF PAYMENTS, AMOUNT
PAID and AMOUNT STILL OWING.
_X__None b. List each payment or other transfer to any creditor made within
90 days immediately preceeding the commencment of this case id the
aggregate value of all property that constitutes or is affected by such transfer
is not less than $5000.00. (Married debtors filing under Chapter 12 or Chapter 13
must include payments and other transfers by by either or both spouses whether
or not a joint petition is filed, unless the spouses are separated, and a joint
petition is not filed.)
_X__None c. List all payments made within one year immediately preced-
ing the commencement of this case to or for the benefit of creditors who
are or were insiders. (Married debtors filing under chapter 12 or chapter
13 must include payments by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint peti-
tion is not filed.) Give NAME and ADDRESS of CREDITOR and RELATION-
SHIP TO DEBTOR, DATE OF PAYMENT, AMOUNT PAID and AMOUNT STILL
OWING.
                    Case
4. Suits, Executions,        11-12236and Attachments
                         Garnishments         Doc 1 Filed 03/24/11 Entered 03/24/11 13:47:25 Desc Main
__None a. List all suits to which the debtor is or was aDocument
                                                           party within one Page 20 of 26Equable Ascent Financial
year immediately preceding the filing of this bankruptcy case. (Married                  v. Debtor
debtors filing under chapter 12 or chapter 13 must include information                   10 M1 210684 (Cook County)
concerning either or both spouses whether or not a joint petition is                     pending
filed, unless the spouses are separated and a joint petition is not filed.)
Give CAPTION OF SUIT AND CASE NUMBER, NATURE OF PROCEEDING,
COURT AND LOCATION and STATUS OR DISPOSITION.
_X_ None. b. Describe all property that has been attached, garnished or
seized under any legal or equitable process within one year immediately
preceding the commencement of this case. (Married debtors filing
under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petittion is
filed, unless the spouses are separated and a joint petition is not filed.)
GIve NAME and ADDRESS OF PERSON FOR WHOSE BENEFIT PROPERTY
WAS SEIZED, DATE OF SEIZURE and DESCRIPTION AND VALUE OF
PROPERTY.
_X__ None 5. Repossessions, Foreclosures and Returns
List all property that has been repossessed by a creditor, sold at a fore-
closure sale, transferred through a deed in lieu of foreclosure or returned
to the seller, within one year immediately preceding the commencement of
this case. (Married debtors filing under chapter 12 or chapter 13 must in-
clude information concerning property of either or both spouses whether
or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.) Give NAME and ADDRESS OF CREDITOR OR
SELLER, DATE OF REPOSSESSION, FORECLOSURE SALE, TRANSFER
OR RETURN and DESCRIPTION and VALUE OF PROPERTY.
6. Assignments and Receiverships
_X__ None. a. Describe any assignment of property for the benefit of
creditors made within 120 days immediately preceding the commence-
ment of this case. (Married debtors filing under chapter 12 or chapter
13 must include any assignment by either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.) Give NAME and ADDRESS OF ASSIGNEE, DATE OF
ASSIGNMENT and TERMS OF ASSIGNMENT OR SETTLEMENT.
_X__None. b. List all property which has been in the hands of a custo-
dian, receiver, or court-appointed official within one year immediately
preceding the commencement of this case. (Married debtors filing under
chapter 12 or chapter 13 must include information concerning property
of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.) Give NAME
and ADDRESS OF CUSTODIAN, NAME and LOCATION OF COURT, CASE
TITLE & NUMBER, DATE OF ORDER and DESCRIPTION AND VALUE OF
PROPERTY.
__X__None 7. Gifts
List all gifts or charitable contributions made within one year immediately
preceding the commencement of this case except ordinary and usual gifts
to family members aggregating less than $200 in value per individual
family member and charitable contributions aggregating less than $100
per recipient. (Married debtors filing under chapter 12 or chapter 13 must
include gifts or contributions by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint peti-
tion is not filed.) Give NAME and ADDRESS OF PERSON OR ORGANIZA-
TION, RELATIONSHIP TO DEBTOR, IF ANY, DATE OF GIFT and DESCRIP-
TION and VALUE OF GIFT.
____None 8. Losses
List all losses from fire, theft, other casualty or gambling within one year
immediately preceding the commencement of this case or since the com-                    Dec. 2010
mencement of this case. (Married debtors filing under chaper 12 or chap-                 $4,000.00 damages to
ter 13 must include losses by either or both spouses whether or not a                    Lexus in hit and run accident
joint petition is filed, unless the spouses are separated and a joint peti-
tion is not filed. Give DESCRIPTION and VALUE OF PROPERTY, DESCRIP-
TION OF CIRCUMSTANCES and, IF LOSS WAS COVERED IN WHOLE OR
IN PART BY INSURANCE. Give PARTICULARS and DATE OF LOSS.                                 Staver & Gainsberg, P.C.
____None 9. Payments Related to Debt Counseling or Bankruptcy                            120 W. Madison St., Ste. 520
List all payments made or property transferred by or on behalf of the                    Chicago, IL 60602
debtor to any persons, including attorneys, for consultation concerning                   $1,000.00
debt consolidation, relief under the bankruptcy law or preparation of a
                                                                                         Credit Counsling
                Case 11-12236            Doc 1       Filed 03/24/11
petition in bankruptcy within one year immediately preceding
                                                                            Entered 03/24/11 13:47:25   Desc Main
                                                            Document        Page 21 of 26
the commencement of this case. Give Name and address of payee,
date of payment, name of puer if other than debtor, and amount
of money or description and value of property.
__X__None 10. Other Transfers
a. List all other property, other than property transferred in the ordinary
course of the business or financial affairs of the debtor, transferred
either absolutely or as security within two years immediately preceding
the commencement of this case. (Married debtors filing under chapter
12 or chapter 13 must include transfers by either or both spouses whether
or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.) Give NAME and ADDRESS OF TRANSFEREE,
RELATIONSHIP TO DEBTOR, DATE and DESCRIBE PROPERTY TRANS-
FERRED AND VALUE RECEIVED.
b. List all property transferred by the debtor within ten years immediately
preceding the commencement of this case to a self-settled trust or
similar device of which the debotr is a beneficiary. Give Name of trust
or other device, date(s) of transfer(s), and amount of money or description
and value of property or debtor's interest in property.
_X___None 11. Closed Financial Accounts
List all financial accounts and instruments held in the name of the
debtor or for the benefit of the debtor which were closed, sold, or
otherwise transferred within one year immediately preceding the
commencement of this case. Include checking, savings, or other
financial accounts, certificates of deposit, or other instruments;
shares and share accounts held in banks, credit unions, pension
funds, cooperatives, associations, brokerage houses and other
financial institutions. (Married debtors filed under chapter 12 or
chapter 13 must include information concerning accounts or instru-
ments held by or for either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint peti-
tion is not filed.) Give NAME and ADDRESS OF INSTITUTION, TYPE
AND NUMBER OF ACCOUNT AND AMOUNT OF FINAL BALANCE and
AMOUNT AND DATE OF SALE OR CLOSING.
_X__None 12. Safe Deposit Boxes
List each safe deposit or other box or despository in which the debtor
has or had securities, cash, or other valuables within one year immed-
iately preceding the commencement of this case. (Married debtors
filing under chapter 12 or chapter 13 must include boxes or deposi-
tories of either or both spouses whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed.)
Give NAME and ADDRESS OF BANK OR OTHER DEPOSITORY, NAMES
AND ADDRESSES OF THOSE WITH ACCESS TO BOX OR DEPOSITORY
DESCRIPTION OF CONTENTS and DATE OF TRANSFER OR SURREN-
DER, IF ANY.
_X___None 13. Setoffs
List all setoffs made by any creditor, including a bank, against a debt
or deposit of the debtor within 90 days preceding the commencement
of this case. (Married debtors filing under chapter 12 or chapter 13
must include information concerning either or both spouses whether
or not a joint petition is filed, unless the spouses are separated and
a joint petition is not filed.) Give NAME and ADDRESS OF CREDITOR
DATE OF SETOFF and AMOUNT OF SETOFF.
_X___None 14. Property Held for Another Person
List all property owned by another person that the debtor holds or
controls. Give NAME and ADDRESS OF OWNER, DESCRIPTION AND
VALUE OF PROPERTY and LOCATION OF PROPERTY.
X____None 15. Prior Address of Debtor
If the debtor has moved within the three years immediately preceding
the commencement of this case, list all premises which the debtor
occupied during that period and vacated prior to the commence-
ment of this case. If a joint petition is filed, report also any separate
address of either spouse. Give ADDRESS, NAME USED and DATES
OF OCCUPANCY.

__X__None 16. Spouses and Former Spouses
If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho,
                 Case 11-12236            Doc 1       Filed 03/24/11 Entered 03/24/11 13:47:25                 Desc Main
__X__None 17. Environmental Information                Document     Page 22 of 26
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state of local statute or
regulation regulating pollution, contamination, releases of hazardous
or toxic substances, wastes or material into the air, land, soil, surface
water, groundwater, of other medium, including, but not limited to, statutes
or regulations regulating the cleanup of these substances, wastes, or
materials.

"Site" means any location, facility, or property as defined under any
Environmental Law, whether or not presently or formerly owned or
operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material" means anything defined as a hazardous waste,
hazardous substance, toxic substance, hazardous material, pollutant, or
contaminant or similar term under an Environmental Law.

__X__None a. List the name and address of every site for which the debtor has
received notice in writing by a governmental unit that it may be liable
or potentially liable under or in violation of an Environmental Law.
Indicate the governmental unit, the date of the notice, and, if known, the
Environmental Law:

SITE NAME                   NAME & ADDRESS                            DATE OF NOTICE           ENVIRONMENT
AND ADDRESS                 OF GOVERNMENTAL UNIT                       NOTICE                   LAW




__X__None b. List the name and address of every site for which the debtor provided
notice to a governmental unit of a release of Hazardous Material. Indicate
the governmental unit to which the notice was sent and the date of the notice.

SITE NAME                   NAME & ADDRESS                            DATE OF NOTICE           ENVIRONMENT
AND ADDRESS                 OF GOVERNMENTAL UNIT                       NOTICE                   LAW




__X__None c. List all judicial or administrative proceedings, including settlements
or orders, under an Environmental Law with respect to which the debtor is or was a
party. Indicate the name and address of the governmental unit that is or was a party
to the proceeding, and the docket number.

NAME & ADDRESS                                     DOCKET NUMBER                       STATUS OR DISPOSITION
OF GOVERNMENTAL UNIT




                                   Unsworn Declaration under Penalty of Perjury.

I declare under penalty that I have read the answers contained in the foregoing statement of
  financial affairs and any attachments thereto and that they are true and correct.

             Date ___________________           Signature of Debtor         /s/ Timothy J. Yanahan


             Date ___________________           Signature of Joint Debtor
                                                  (if any)
                           Penalty for making a false statement: Fine of up to $500,000 or imprisonment for
                              up to 5 years or both 18 U.S.C. 152 and 3571.
                 Case 11-12236
UNITED STATE BANKRUPTCY COURT
                                          Doc 1      Filed 03/24/11 DISTRICT
                                                                     Entered OF
                                                                               03/24/11 13:47:25                    Desc Main
                                                      Document     Page 23 of 26
In re: Yanahan, Timothy                                        Debtor(s)      Case No.                           (if known)

                                                                              STATEMENT
                                                                       Pursuant to Rule 2016(b)

   The undersigned, pursuant to Rule 2016(b) Bankruptcy Rules, states that:

        (1) The undersigned is the attorney for the debtor(s) in this case.
        (2) The compensation paid or agreed to be paid by the debtor(s) to the undersigned is:
            (a) for legal services rendered or to be rendered in contemplation of and in connection
                 with this case                                                                                        1,200.00
            (b) prior to filing this statement, debtor(s) have paid                                                    1,200.00
            (c) the unpaid balance due and payable is                                                                      0.00
        (3) $ 299.00 of the filing fee in this case has been paid.
        (4) The services rendered or to be rendered include the following:
            (a) analysis of the financial situation, and rendering advice and assistance to the debtor(s) in
                determining whether to file a petition under title 11 of the United States Code.
            (b) preparation and filing of the petition, schedules, statement of affairs and other documents
                required by the court.
            (c) representation of the debtor(s) at the meeting of creditors.




        (5) The source of payments made by the debtor(s) to the undersigned was from earning, wages and
            compensation for services performed, and




        (6) The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance
            remaining, if any, will be from earnings, wages and compensation for services performed, and




        (7) The undersigned has received no transfer, assignment or pledge of property except the
            following for the value stated:




        (8) The undersigned has not shared or agreed to share with any other entity, other than with
            members of undersigned's law firm, any compensation paid or to be paid except as follows:




Date:                                Respectfully submitted    /s/ Neal S. Gainsberg                             Attorney for
                                                                                                                    Petitioner


Attorney's name and address          Staver & Gainsberg, P.C., 120 W. Madison St., Ste. 520, Chicago, IL 60602
    Case 11-12236               Doc 1       Filed 03/24/11 Entered 03/24/11 13:47:25         Desc Main
                                             Document     Page 24 of 26


B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            Northern                 Illinois
                                            __________ District of __________


                   Timothy Yanahan
          In re__________________________                                       Case No._____________
                                Debtor                                                    (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

          ✔
          u 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        u 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
  Case 11-12236                Doc 1         Filed 03/24/11 Entered 03/24/11 13:47:25     Desc Main
                                              Document     Page 25 of 26


                                                                                                 Page 2
  B 1D (Official Form 1, Exh. D) (12/09) – Cont.


        u 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       u 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                 u Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 u Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 u Active military duty in a military combat zone.

       u 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                                                 /s/ Timothy Yanahan
                                          Signature of Debtor: ________________________

                                                    3/17/2011
                                          Date: _________________
  Case 11-12236      Doc 1     Filed 03/24/11 Entered 03/24/11 13:47:25                Desc Main
                                Document     Page 26 of 26




                                               Certificate Number: 14439-ILN-CC-014186372


                                                              14439-ILN-CC-014186372




                    CERTIFICATE OF COUNSELING

I CERTIFY that on March 14, 2011, at 2:25 o'clock PM CDT, Timothy J
Yanahan received from National Financial Literacy Foundation, Inc., an agency
approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the Northern
District of Illinois, an individual [or group] briefing that complied with the
provisions of 11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   March 14, 2011                         By:      /s/Donna J Schumacher


                                               Name: Donna J Schumacher


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
